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CIVH, DOCKET CONTINUATION SHEET

PLAINTIFF | DEFENDANT

| Docket wo. MDL 840
IN RE: ESTATE oF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

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DATE oN PROCEEDINGS
/ 1999 POO SS CS ARTE ——
Apr 26 | 5505: PROOF of Claim Form For Terture Victims by Anasario Delapina
5506 PROOF of Claim Form For Torture Victims by Niall Crowley O'Brien

9507) PROOF of Claim Form For Torture Victims by Maximo S. Tatoy

PROOF of Claim Form For Torture Victims by Helberto R. Gecale

3509) PROOF of Claim Form For Torture Victims by Manuel 8, Qui jada

5510; PROOF of Claim Form For Torture Victims by Danilo E. Glipa aka Danilo Edralin

5511, PROOF of Claim Form For Torture Victims by Vicente Ligao, Deceased by Simprosa
i Camancho

2512) PROOF of Claim Form For Torture Victims by Victor Zabacida i

5513) PROOF of Claim Form For Torture Victims by Jessie Encinares, Deceased by Leonora :
Encinares :

5514: PROOF of Claim Fora For Torture Victims by Antonio B. Alovera, dr, ;

5515) PROOF of Claim Form For Torture Victims by Cecilio G. Cruz

5516; PROOF of Claim Form For Torture Victims by Claudio Siase

5517, PROOF of Claim Form For Torture Victims by Jaime Dizon

i | 5518) PROOF of Claim Form For Torture Victims by Eduardo Ste Tomas Garcia

| 2519) PROOF of Claim Form For Torture Victims by Renato C. Baluran

i 5520, PROOF of Claim Form For Torture Victims by Edgardo Dytiapeo

) 5521) PROOF of Claim Form For Torture Victims by ANtonio R. Reyeg

5522) PROOF of Claim Form For Torture Victims by Juanito R. Rabago

5523) PROOF of Claim Form For Torture Victims by Fe Buenaventura-Mangahas

5524; PROOF of Claim Form For Torture Victims by Orlando Bello Y Mendoza

5525) PROOF of Claim Form For Torture Victims by Godofrede Mercado Masinsin

5526! PROOF of Claim Form For Torture Victims by Iglecirio Delos Santos

i 5527, PROOF of Claim Form For Torture Victims by Mariano 8. Giner, Jr.

| 5528, PROOF of Claim Form For Torture Victims by Conrado Pallasigue

| $529 PROOF of Claim Form For Torture Victims by Geronimo Lataga

| 5530; PROOF of Claim Form For Torture Victims by Ermito Heroy Oblino, Deceased by Marid

H. Oblino

| 5531| PROOF of Claim Form For Torture Victims by Constancio A. Pinongpong
i 3532) PROOF of Claim Form For Torture Victims by Rolando P. Casaway
| 5533! PROOF of Claim Form For Torture Victims by Ernesto A. Forcadilla
5534 PROOF of Claim Form For Torture Victims by Josefina Hilao-Forcadilla
| 9535; PROOF of Claim Form For Torture Victims by Santiago Matela

PROOF of Claim Form For Disappearance Victims by Guaton Abiden by Teng Abiden
3538 PROOF of Claim Form For Disappearance Victims by Apolinar N. Gamale

PROOF of Claim Form For Disappearance Victims by Emmanuel Racaza Catong or
Ismael Racaza by Myrna R. Catong
5539; PROOF of Claim Form For Disappearance Victims by Julieta Sacayan

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5540] PROOF of Claim Form For Disappearance Victims by Rosaleo "Rudy" B. Romano by
Adelaida B. Romano

5541, PROOF of Claim Form For Disappearance Victims by Edwina F. Cortez
9942 PROOF of Claim Form For Disappearance Victims by Immanuel M. Obispo by Isagani
P. Obispo
| PROOF of Claim Form For Disappearance Victims by Epefanio B. Bantilaa by Fe B,
| Mananawong

5544; PROOF of Claim Form For Disappearance Victims by Avelino Caputol
5545} PROOF of Claim Form For Disappearance Victims by Avelino Caputol by Paterno

Caputol
9546] PROOF of Claim Form For Disappearance Victims by Roberto B. Bantilan by Fe B.

Mananawong

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PLAINTIFF

IN RE: ESTATE OF FERDINAND E. MARCOS: HUMAN RIGHTS LITIGATION

DEFENDANT

/ OOCKET NO. MDL B40

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| Apr 26 5547 | PROOF of Claim Form
5548 | PROOF of Claim Form
G. Ballesta
3349 PROOF of Claim Forn
Simbahan
5550 PROOF of Claim Form
Pine-On
5551. PROOF of Claim Form
59552, PROOF of Claim Form
3553 PROOF of Claim Form
5554 PROOF of Claim Form
A. Ladeza
' 5555 PROOF of Claim Form
L. Listana
: 5556 | PROOF of Claim Form
Lopez
/ 9557 PROOF of Claim Form
N. Pondara
5558 PROOF of Claim Form
Batoy
5559 | PROOF of Claim Form
5560 | PROOF of Claim Form
i Pembayong
| 3561 | PROOF of Claim Form
| Saligidan
3562 | PROOF of Claim Form
5563 | PROOF of Claim Form
5564 | PROOF of Claim Form
5565 | PROOF of Claim Form
! 5566 | PROOF of Claim Form
Abdullah Asad
5567 | PROOF of Claim Form
Caludin
5568 | PROOF of Claim Form
| Caludin
5569 | PROOF of Claim Form
| 8. Tegio
| 5570 | PROOF of Claim Form
| 5571 PROOF of Claim Form
t F. Bullecer
| 5572 | PROOF of Claim Form
i Regangcos
5573 | PROOF of Claim Form
j D. Sayson
| 5574 | PROOF of Claim Form
Dela Pena
5575 | PROOF of Claim Form
5576 | PROOF of Claim Form
Pascua
5377 | PROOF of Claim Form
Dinglasan Reyes
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Raymundo V. Ramil
Eduardo C. Ballesta by Remedios

Artemio Simbahan by Conchita
Elmerito Pino-On by Felmalin M.
Marcial L. Ignacio

Konowa Omar by Mohamad Omar
Samayatin Kamad by Taks Kamad
Arfiano L, Ladeza by Caferino
Ciemente M, Listana by Theresa
Artimio Lopez by Lourdes Altare:z
Paulino Duris Pondara by Bibiana

Cirilo Tamparong by Elizabeth T.

Hersimo Benas by Caricio Benas
Aliman Mundas by Karim M.

Mapandi Saligidan by Pagal B.
Donato D. Opada

Benito Madeja by Mariana Made ja
Martha A. Kipas

Catalino D. Catubig

Kadiguia Gsi by Manuel Asad by
Taya Caludin by Sitti Pitang
Saidali Caludin by Baguamama

Dominador L. Tegio by Leonila

Lolita Belo Cue by Romeo Cue
Teodoro F. Bullecer by Vicente

Paquito Gabito by Andronica
Alexander Bacaro Sayson by .Sulpi
Luciano Dela Pena by Ernesto

Jaime Lomibao by Adela Lomibao
Rogelio B. Pascua by Isidro R.

Felizardo J. Reyes by Delia

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CIVIL DOCKET CONTINUATION SHEET

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IN RE: ESTATE OF FERDINAND E. MARCOS IHUMAN RIGHTS LITIGATION

| DOCKET NO. MDL, 840

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PROCEEDINGS

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DATE —soNR
1999
Apr 26 5578 PROOF of Claim Form For Disappearance Victims by Petronilo Torno by Reyne
Pundano Torno
5579) PROOF of Claim Form For Disappearance Victims by Antonio A. Lopez by Lourdes
Altarez Lopez
» $580) PROOF of Claim Form For Disappearance Victims by Santiago A. Rebato
| 5581! PROOF of Claim Form For Summary Execution Victims by Aquilino M. Bustillo by
Anastacio M. Bustillo
: 5582) PROOF of Claim Form For Summary Execution Victims by Simplicio Estrada, Sr. by
i Tita M. Estrada
3583, PROOF of Claim Form For Summary Execution Victims by Joselito [bana Dimaano by
i : Virginia I. Dimaano
5584, PROOF of Claim Form For Summary Execution Victims by Narciso K. Velila by Nelia
| Velila Zamora
5585! PROOF of Claim Form For Summary Execution Victims by Luis Cardona by Estrella 7.
/ Cadora
| 5586, PROOF of Claim Form For Summary Execution Victims by Romegio D. Francisco by
isabel R. Francisco
/ 5587, PROOF of Claim Form For Summary Execution Victims by Noel T. Flores by Lucila
| | Flores
/ $588! PROOF of Claim Form For Summary Execution Victims by Deogracias Dena Procurato
| by Elizabeth L. Procurato
5589; PROOF of Claim Form Far Summary Execution Victims by Edgar B. Benigay, Sr. by
| Gina Benigay Dano
5590 PROOF of Claim Form For Summary Execution Victims by Martin Baulos Ceniza by
i Marina Baulos Ceniza
5591) PROOF of Claim Form For Summary Execution Victims by Inigo T. Moloboce, Ir. by
Inigo E. Moloboco, Sr.
5592; PROOF of Claim Form For Summary Execution Victims by Melchora V. Bucag by Helen
I B. Canog for Jorgea Lago Bucag
5593) PROOF of Claim Form For Summary Execution Victims by Marcelo Eguia by Annie 0.
Eguia
5594; PROOF of Claim Form For Summary Execution Victims by Basit Tunggal by Sitti Kade
| Tunggal
5595) PROOF of Claim Form For Summary Execution Victims by John N. Concepcion by Steris
N. Concepcion
5596; PROOF of Claim Form For Summary Execution Victims by Lorita Abalos by Rosario
Abalos
5397, PROOF of Claim Form For Summary Execution Victims by Julio Sayson Rosales by
Michael Rey C. Rosales
5598 PROOF of Claim Form For Summary Execution Victims by Ronaldo R. Fabillar by
Mercedes R. Fabillar
5599) PROOF of Claim Form For Summary Execution Victims by Edito D. Obingayan by
Eugenio Obingayan
5600; PROOF of Claim Form For Summary Execution Victims by Ebrahim Andiyay by Dimalen
Andiyay
5601 PROOF of Claim Form For Summary Execution Victims by Indok Ambol by Habelosa
Lamada
5602; PROOF of Claim Form For Summary Execution Victims by Lumbaya Amboli by Habelosa
Lamada
5603; PROOF of Claim Form For Summary Execution Victims by Lea Naga by Bainora
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Naga Salipada~Ampang
5605 | PROOF of Claim Form For Summary
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5607 | PROOF of Claim Form For Summary
5608 PROOF of Claim Form For Summary
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5609 PROOF of Claim Form For Summary
G. Gerente
5610 PROOF of Claim Form For Summary
Lumapenet
5611: PROOF of Claim Form For Summary
Senggayan
5612 PROOF of Claim Form For Summary
Naga Salipada-Ampang
/ 5613 PROOF of Claim Form For Summary
Salipada-Ampang
5614 . PROCF of Claim Form For Summary
i Usman
5615 PROOF of Claim Form For Summary
Rosita Quijoy Valdez
5616 | PROOF of Claim Form For Summary
| : Donggon
5617 PROOF of Claim Form For Summary
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/ 5618 PROOF of Claim Form For Summary
| Donggon
i / 3619 PROOF of Claim Form For Summary
Estela Medel
5620 | PROOF of Claim Form For Summary
| Marina Baulos Ceniza
5621 PROOF of Claim Form For Summary
| 5622 PROOF of Claim Form For Summary
by Erlinda B. Obod
/5623 | PROOF of Claim Form For Summary
: Modapil
5624 | PROOF of Claim Form For Summary
i Safia Antong
5625 | PROOF of Claim Form For Summary
, 3626 | PROOF of Claim Form For Summary
Sanday
| 5627 | PROOF of Claim Form For Summary
5628 | PROOF of Claim Form For Summary
Teresita A. Lumingit
5629 | PROOF of Claim Form For Summary
Hongoy Vda De Marbasa
5630 | PROOF of Claim Form For Summary
D. Balud
3631 | PROCF of Claim Form For Summary
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by Pedtad Naga by Bainora

by Maido Naga by Bainora Naga
Mandiot Ali by Musa Ali
Abon Ladiasan by Edo Akil
Kolot Manontok by Pinagada
Pedro C. Gerente by Teofilo
Pendi Lumapenet by Bailan §.
Sordya Senggayan by H. Odin
Salipada Naga by Bainora
Mangusi Naga by Bainora Naga
#smail Usman by Suraida
Wilfredo Laure Valdez by
Eufronio Donggon by Hernanie
Dionicia Donggon by Hernanie
Trinidad Donggon by Hernanie
Policarpio Medel by Maria
Daniel Baules Ceniza by

Ismael Dari by Esnera Dari
Celestino Mejorada Obod

Camsa Modapil by Jainab
Abubakar (Bakar) Antong by

Ulam Laya by Dawi Laya
Tahir Sanday by Taculing

Sakandal Haron by Dawi Laya
Rene Boy Allego Arnado by

Oster Marbasa by Romana
Lucino 0. Balud by Sergia

Lamalan Sumping by Abdulkasa

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PLAINTIFF

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IN RE: ESTATE OF FERDINAND &. MARCOS HUMAN RIGHTS LITIGATION

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Fatima Pandian

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DATE NR. |
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Apr 26 | 5632 PROOF of Claim Form For Summary Execution Victims by Gidter Baluno by Panseb L.
i Baluno
5633) PROOF of Claim Form For Summary Execution Victims by Salakay Laguiali by Panseb
L. Baluno
5634, PROOF of Claim Form For Summary Execution Victims by Esmael N. Abas
| 3635) PROOF of Claim Form For Summary Execution Victims by Blah Mendatan by Mendatan
Kunading
| 5636; PROOF of Claim Form For Summary Execution Victims by Demosthenes “Demy” Dingcong |
i by Consuelo Bingcong :
5637| PROOF of Claim Form For Summary Execution Victims by Miguel Mila by Felimon Mila.
| 5638) PROOF of Claim Form For Summary Execution Victims by Aurelio E. Setiar by
| Benardo E. Sotiar
5639/ PROOF of Claim Form For Summary Execution Victims by Juan M. Andres by Loreta M. |
Andres
5640| PROOF of Claim Form For Summary Execution Victims by Pelagio Madeia by Maria L.
Nusuit
| 5641, PROOF of Claim Form For Summary Execution Victims by Jim Jumawan Ayawan by Rositg
S. Ayawan
| 5642) PROOF of Claim Form For Summary Execution Victims by Narcisa Rodriguez by Albina |
A. Rodriguez
| 5643) PROOF of Claim Form For Summary Execution Victims by Ramil A. Rodriguez by Albina
| A. Rodriguez
| 9644 PROOF of Claim Form For Summary Execution Victims by Jose A. Bacsarpa by Romulo
| : M. Bacsarpa
3645, PROOF of Claim Form For Summary Execution Victims by Jose Lagaspi by Elsa Legasp]
| 2646) PROOF of Claim Form For Summary Execution Victims by Alfredo H. Cabasag by Teofil:
i U. Cabasag
5647) PROOF of Claim Form For Summary Execution Victims by King Laya by Rubama Laya
| 3648) PROOF of Claim Form For Summary Execution Victims by Salipada Bandila by Radsak
Bandila
| 3649, PROOF of Claim Form For Summary Execution Victims by Barhim Bandila by Radsak
Bandila
| 5650) PROOF of Claim Form For Summary Execution Victims by Soning Bandila by Radsak
| | Bandila
i 3651 PROOF of Claim Form For Summary Execution Victims by Ampak Bandila by Radsak
Bandila
5652! PROOF of Glaim Form For Summary Execution Victims by Oting Bandila by Radsak
Bandila
5653) PROOF of Claim Form For Summary Execution Victims by Angel G. Galasinao by
| Rosita G. Sumido
| 5654] PROOF of Claim Form For Summary Execution Victims by Benito Nim by Erlinda N. Nin
5655/ PROOF of Claim Form For Summary Execution Victims by Abdulnasser M. Salik by
Kaharudin 8. Salik -
2656; PROOF of Claim Form For Summary Execution Victims by Eliseo Aicairo by William
Alecairo
5657| PROOF of Claim Form For Summary Execution Victims by Bangon Balat by Habelosa
Lamada
5658] PROOF of Claim Form For Summary Execution Victims by Edmundo Obeso Serado by
Norma Obeso Serado
5659; PROOF of Claim Form For Summary Execution Victims by Gondalangan Pandian by

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OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

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| PROOF of Claim Form For

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Sitti Piang Caludin

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Gumonod Pateno

Summary

Colong Valdez

PROOF of Claim Form For

Gloria C. Valcos

| PROOF of Claim Form For
Mukamad

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Canon

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Perlita Dionisio by Valentino Dela Cr

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: Guinggona

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: A. Rodriguez

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Expedita §. Villacura

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Gallaron

| PROOF of Claim Form For Summary

Lepariar Cabana

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Fortunata

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Alson P. Ledesma

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Perlita Dionicio by Valentino Dela Cr
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i A. Pinero

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| Burgas

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Miss Monawara Caludia by
Salvador Pateno by Generosa
Anselmo Valdez by Catalina

Danilo c, Valcos, Jr. by

Banto Mukamad by Bakol

Adriano Canon by Zosima

Juanito Emit Villacura by

Pacito Delmonte by Jovelyn

Antonio Gallaron by Jovita
Salvador Cabana by Carmen
Antonio G. Buniel by Dominga

Rebecca T. Balena by

Adelina V. Afable by

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Raymundo F. Ledesma by
Mario (Jose) Dela Cruz and
Ambrocio F. Gardinas by
Bonifacio F. Cardinas by
Godofredo F. Cardinas by
Primo A. Pinero by Pastor

Sulpicio Burgas by Necefora

Jesus A. Almuena by Noe A.

Simplicio R. Tac-An by

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PLAINTIFF DEFENDANT

| DOCKET NO. MDL 840 _
IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITICATION

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P 41999 :

Apr 26 5685 PROOF of Claim Form For Summary Execution Victima by Tuwaib Laya by Abdela MM, Laye
5686 | PROOF of Glaim Form For Summary Execution Victims by Cahang Balimbingan by Mariam.
Balimbingan
5687 | PROOF of Claim Form For Summary Execution Victims by Renato 8B. Bucag, Sr. and Reng
| Bucag, Jr. by Helen B., Canoy for Jorgea Lago Bucag
(5688 | PROOF of Claim Form For Summary Execution Victims by Casimero Balansag Balucos
by Guadalupe B. Balucos
5689 (PROOF of Claim Form For Summary Execution Victims by Compeo Lucas by Rolly Lucas .
, 5690 PROOF of Claim Form For Summary Execution Victims by Modesta Villagong by Claudio |
H. Villacong i
5691 /PROOF of Claim Form For Summary Execution Victims by Francisca Lucas by Rafael
Lucas
(5692 PROOF of Claim Form For Summary Execution Victims by Delfina Seno
(5693 ;PROOF of Claim Form For Summary Execution Victims by Aisa Ibrahim by Sarah
[brahim
5694 PROOF of Claim Form For Summary Execution Victims by Crisostomo Bilbao by Corazon
| Bilbao
(5695 |PROOF of Claim Form For Summary Execution Victims by Abelardo Albofera
[5696 | PROOF of Claim Form For Summary Execution Victims by Claudio Babao, Jr. by Basilia

i Babao
5697 PROOF of Claim Form For Summary Execution Victims by Karen S. Cuizon by Alle S.
| Cuizon

5698 | PROOF of Claim Form For Summary Execution Victims by Eduardo Undecimo Pereda by
Maria U. Peredas

5699 |PROOF of Claim Form For Summary Execution Victims by Elmer Undecimo Pereda by
Maria U. Pereda

5700 [PROOF of Claim Form For Summary Execution Victims by Evangelina P. Cagamoc

5701 | PROOF of Claim Form For Summary Execution Victims by Alfredo H. Cabasag by Teofild
U. Cabasag

3702 [PROOF of Claim Form For Summary Execution Victims by Joey C. Agpalza by Nolie
Agpalza

5703 (PROOF of Claim Form For Summary Execution Victims by Jose B. Beruega by Elsa M.
Beruega

5704 |PROOF of Claim Form For Summary Execution Victims by Cepriana Dula by Gil Dula

5705 |PROOF of Claim Form For Summary Execution Victims by Jesus V. Olalia by Liberata
Bartolome Olalia

5706 |PROOF of Claim Form For Summary Execution Victims by Remberto "Bobby" Alcantara
De La Paz by Sylvia Ciocon-De La Paz

3707 |PROOF of Claim Form For Summary Execution Victims by Amado Pbhlino by Lucina 0.
Cabungunay

2708 | PROOF of Claim Form For Summary Execution Victims by Nanawn Bacana by Suma A.
Bacana

5709 | PROOF of Claim Form For Summary Execution Victims by Julieta S. Cuizon by Alle
S. Cuigon

5710 |PROOF of Claim Form For Summary Execution Victims by Calixtro L. Cuizon by Alle
§. Cuizon

5711 |PROOF of Claim Form For Summary Execution Victims by Bernaldo L. Cuizon by Nilda
R. Cuizon

5712 |PROOF of Claim Form For Summary Execution Victims by Melagres Jabulia Mabanan and
Inigo Mabanan by Alfredo J. Mabanan

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5713: STATEMENT by Reynaldo Rafol

5714 STATEMENT by Elizabeth V. Borneo
3715 | STATEMENT by Alejandro §. Camillo |
5716 STATEMENT by Miguelito De Las Alas

_ 5717 | STATEMENT by Geronimo Lazaga |

| 2? 5718: PROOF of Clain Form For Torture Victims by Julio Perez, Deceased by Delfina P.

: Robelles
i 5719 | PROOF of Claim Form For Torture Victims by Eliseo P. Narea | é

| 5720 PROOF of Claim Form For Torture Victims by Asjid Alang Pananggilan, Deceased by

| = i Dodin Pananggilan

5721 | PROOF of Claim Form For Torture Victims by Josefa Benedicto

39722 PROOF of Claim Form For Torture Victims by Semplicio Tacaisan

5723 PROOF of Claim Form For Torture Victims by Manolita Bacolod-Morales

5724 | PROOF of Claim Form For Torture Victims by Andrina D. Abue

5725 PROOF of Claim Form For Torture Victims by Arsenio Estolloso |

59726 PROOF of Claim Form For Torture Victims by Lorenzo 6, Morales, Jr., Deceased Dy

Luisito M. Morales

_ 9727 | PROOF of Claim Form For Torture Victims by Benedicto D. isolana

5728 ) PROOF of Claim Form For Torture Victims by Tarcelo B. Peleno

| 3729 PROOF of Claim Form For Torture Victims by Pedenciano Domesa

_ 5730 | PROOF of Claim Form For torture Victims by Armoheno Villarosa

3731 PROOF of Claim Form For Torture Victims by Anna Mse Morallas~Basarte

_ 5732 | PROOF of Claim Form For Torture Victims by Bienvenido Baclayon

} | PROOF of Claim Form For Torture Victims by Edilberto $. Gabane

| 5734 | PROOF of Claim Form For Torture Victims by Julian Cacura

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| 5736 | PROOF of Claim Form For Torture Victims by Antonio Panglimutan

i PROOF of Claim Form For Torture Victims by Romeo T. Bulawan

| PROOF of Claim Form For Torture Victims by Victorino E. Manalo

5739 | PROOF of Claim Form For Torture Victims by Bienvenido A. Colima

| PROOF of Claim Form For Torture Victims by Roger C. Manatad

| 5741 | PROOF of Claim Form For Torture Victims by Pedro R. Caber, Deceased by Laurenda

Caber dela Cerna

| 5742 | PROOF of Claim Form For Torture Victims by Nonito J. Borromeo, Sr.

5743 | PROOF of Claim Form For Torture Victims by Pancho F. Ginete

5744 PROOF of Claim Form For Torture Victims by Isais T. Bestida

| 5745 | PROOF of Claim Form For Terture Victims by Reynaldo C. Bestida

| 5746 | PROOF of Claim Form For Torture Victims by Fernando Sunga Ramos
| PROOF of Claim Form For Torture Victims by Tomas Suan

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| 5751 | PROOF of Claim Form For Torture Victims by Rolando Daguinotas

| 5752 | PROOF of Claim Form For Torture Victims by Rebecca J. Timogtimog

| 5753 | PROOF of Claim Form For Torture Victims by Joseph M. Gumanid

; PROOF of Claim Form For Torture Victims by Bienvenido lL. Uray, Deceased by Romeo
L. Uray, Sr.

| | PROOF of Claim Form For Torture Victims by Mariano Umbreroe, Sr.

15756 PROOF of Claim Form For Torture Victims by Leopoldo Quinonez

PROOF of Claim Form For Torture Victims by Pamfilo H. Rodeles

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IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION ) PockeT No. HDL 840 _

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Apr 27 5758, PROOF of Claim Form For Torture Victims by Filex M. Montehermoza
37591 PROOF of Claim Form For Torture Victims by Faustino D. Bueles
5760; PROOF of Claim Form For Torture Victims by Rodrigo Fernandez
5761; PROOF of Claim Form For Torture Victims by Alfredo L. Mabanto
39762| PROOF of Claim Form For Torture Victims by Pinca Santos
3763; PROOF of Claim Form For Torture Victims by Nelson A. Guarin

| 3764, PROOF of Claim Form For Torture Victims by Jesus S. Dolosa
© , 5765, PROOF of Claim Form For Torture Victims by Emiliano B. Intam
5766/ PROOF of Claim Form For Torture Victims by Roberto Amon Barrera
3767| PROOF of Claim Form For Torture Victims by Bonifacio M. Piamonte
5768; PROOF of Claim Form For Torture Victims by Federico Belinaris
5769; PROOF of Claim Form For Torture Victims by Catalino Latas
3770| PROOF of Claim Form For Torture Victims by Victor M. Gonzales
5771} PROOF of Claim Form For Torture Victims by Isagani R. Serrano
5772| PROOF of Claim Form For Torture Victims by Reynaldo DB. Galang
, 5773. PROOF of Claim Form For Torture Victims by Rhadzak K. Saban
| 5774] PROOF of Claim Form For Torture Victims by Esteban P, Vasquez, Jr,
| 5775| PROOF of Claim Form For Torture Victims by Zosimo Fabriag
| 5776} PROOF of Claim Form For Torture Victims by Enrique H. Dumando
' 2777! PROOF of Claim Form For Torture Victims by Teresa Crisidio Doctor
| 5778; PROOF of Claim Form For Torture Victims by Manuel N. Galabin
2779) PROOF of Claim Form For Torture Victims by Jessie 3. Sambayon
3780] PROOF of Claim Form For Torture Victims by Vina Atay Cajes
3781} PROOF of Claim Form For Torture Victims by Delia Inson
59782) PROOF of Claim Form For torture Victims by Daniela D. Rosales
5783) PROOF of Claim Form For Torture Victims by Pedro H. Panlilio, Deceased by Erlinds
&. Panlilia
3784} PROOF of Claim Form For Torture Victims by Romeo R. Quiambao
5785} PROOF of Claim Form For Torture Victims by Jose C. Manalili
3786, PROOF of Claim Form For Torture Victims by Juanito B. Malbuezo
5787) PROOF of Claim Form For Torture Victims by Ireneo B. Escandor
5788, PROOF of Claim Form For Torture Victims by Emmanuel C. Datu
5789| PROOF of Claim Form For Torture Victims by Luciano L. Ongay
5790; PROOF of Claim Form For Torture Victims by Felecidad C. Noya
3791; PROOF of Claim Form For Torture Victims by Ricardo C. Papa
5792} PROOF of Claim Form Fer Torture Victims by Rodrigo G, Soriano
9793/ PROOF of Claim Form For Torture Victims by Roberto Tugado
3794! PROOF of Claim Form For Torture Victims by Juanito C. Ecal
5795; PROOF of Claim Form For Torture Victims by Dominador D. Becina
5796) PROOF of Claim Form For Torture Victims by Hernando Guzman
5797, PROOF of Claim Form For Torture Victims by Alberto C. Cupang, Deceased by Merlitd
L. Cupang
3798; PROOF of Claim Form For Torture Victims by Norma D. Mider
5799, PROOF of Claim Form For Disappearance Victims by Samuel Carin, Sr. by Vilma caris
5800/ PROOF of Claim Form For Disappearance Victims by Hasim Alon by Edres Modali
5801; PROOF of Claim Form For Disappearance Victims by Juanito Estolloso by Arsenio
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3802| PROOF of Claim Form For Disappearance Victims by Patricio Jawjaw by Lilia Iran
5803; PROOF of Claim Form For Disappearance Victims by Pedro Gabisan by Gregorio

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: 3806 PROOF of Claim Form For Disappearance Victims by Udtog 8. Odasan by Aisa 5.
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: 5807 PROOF of Claim Form For Disappearance Victims by Carlito R. Candido by Carios C.
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3808 PROOF of Claim Form For Disappearance Victims by Artemio Bolitin by Tirso G.
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5809 PROOF of Claim Form For Disappearance Victims by Tasil Masukat by Hadja Sapia K.
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' 5810 PROOF of Claim Form For Disappearance Victims by Teng Sulaiman by Hadja Sapia K.
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581i PROOF of Claim Form Far Disappearance Victims by Tirse M. Maniquez by Jose A.
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5812 PROOF of Claim Form For Disappearance Victims by Nicomides £. Refuncion by
Wenefrida Refuncion
| 5813 | PROOF of Claim Form For Disappearance Victims by Zuelo Francisco by Thelma F.
Galupo
5814 | PROOF of Claim Form For Disappearance Victims by Hermito Lucban by Elsa Antepolo
| 58h5 | PROOF of Claim Form For Disappearance Victims by Liopoldo Magno by Nelda Magno
, 5816 | PROOF of Claim Form For Disappearance Victims by Domingo Oblino by Avelina Oblino
| 5817 | PROOF of Claim Form For Disappearance Victims by Pablo C. Galo by Letecia P. Galo
| 5818 : PROOF of Claim Form For Disappearance Victims by Lugasam M. Pamabay by Jimmy P.
i Lugasam
| 5819 | PROOF of Claim Form For Disappearance Victims by Rogelio N. Iran by Alejo Iran
| 3820 | PROOF of Claim Form For Disappearance Victims by Romeo A. Uy
| 5821 | PROOF of Claim Form For Disappearance Victims by Jayme Sungcalang, Deceased by
Mercedez Sungcalang
59822 ) PROOF of Claim Form For Disappearance Victims by Abel Makauyag by Aning Makauyag
| 5823 , PROOF of Claim Form For Disappearance Victims by Ayob Guiadel by Mutalib Guiadel
_ 3824 | PROOF of Claim Form For Disappearance Victims by Makasulay Musa by Sinalinda P.
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5825 PROOF of Claim Form For Disappearance Victims by Manuel A. Maniquez by Jose A.
: Maniquez
5826 PROOF of Claim Form For Disappearance Victims by Cenesio Enero ¥. Jazmin by
: Emelia Enero Y. Jazmin
' 5827 | PROOF of Claim Form For Disappearance Victims by Romy Gagbo by Jesus Gagbo
| 5828 | PROOF of Claim Form For Disappearance Victims by Leboria C. Gabule
5829 | PROOF of Claim Form For Disappearance Victims by Leboria C. Gabule
| 3830 | PROOF of Claim Form For Disappearance Victims by Gellermo Calero by Alicia Cerda
| 5831 PROOF of Claim Form For Disappearance Victims by Hermeto Enero by Teresita E.
: Narca and Sabas Enero
, 5832 | PROOF of Claim Form For Disappearance Victims by Guelermo Galero by Alicia Cerda
| 5833 | PROOF of Claim Form For Disappearance Victims by Danilo L. Jarite by Juditha J,
Jarito
| 5834 PROOF of Claim Form For Disappearance Victims by Radsak Ubpon Sindatoc by Bayani
| Sindatoc
| 5835 | PROOF of Claim Form For Disappearance Victims by Esmael Mataly by Jimmy P. Lugasan
| 5836 PROOF of Claim Form For Summary Execution Victims by Mokamad Ukas by Kedza M.
: Ukas
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i Cabaro

‘5839 | PROOF of Claim Form For Summary Execution Victims by Venerando Espina Giray by
Cecilia Espina Giray

5840 | PROOF of Claim Form For Summary Execution Victims by Minalang Mamyog by Fanny PF.
Mama yog

5841 PROOF of Claim Form For Summary Execution Victims by Antolin Dula by Delfina P.

i i Robelles

3842 | PROOF of Claim Form For Summary Execution Victims by Abdul Sendad by Maitem Sendac

5843 ! PROOF of Claim Form For Summary Execution Victims by Guimad Uyag by Jerry Uyag

5844 PROOF of Claim Form For Summary Execution Victims by Kamal Buka and Kuleg Buca

i by Mamolindas Buca

15845 ‘PROOF of Claim Form For summary Execution Victims by Victoriano Tawat Oyag by

Anastacia R. Oyag

'5846 PROOF of Claim Form For Summary Execution Victims by Omar Rivera by Nena Canono

(3847 PROOF of Claim Form For Summary Execution Victims by Ricardo R. Lascuna by

i Avelina R. Pascuna

(5848 | PROOF of Claim Form For Summary Execution Victims by Fidel Cabrera by Antonia

| Rivera
5849 | PROOF of Claim Form For Summary Execution Victims by Arturo Rasuelo by Teofila
i Resuelo
5850 |PROOF of Claim Form For Summary Execution Victims by Juan Anguillano by Patricia
Anguillano
9851 !PROOF of Claim Form For Summary Execution Victims by Glicerio Arbizo by Liberty

V. Arbizo

29852 PROOF of Claim Form For Summary Execution Victims by Delfin Balce Elma by
Margarita De Mesa Elma

5853 |PROOF of Claim Form For Summary Execution Victims by Melecio Tatad Simborio by
! Cesar A. Simborio

(5854 |PROOF of Claim Form For Summary Execution Victims by Pablo Ramos by Rufina Rabos
5855 [PROOF of Claim Form For Summary Execution Victims by Melvin Orquin by Danilo
Orguin

5856 (PROOF of Claim Form For Summary Execution Victims by Silvino Mabanan by Ropeno
Mabanan

5857 (PROOF of Claim Form For Summary Execution Victims by Ciperino P. Bucol by
Trenea M. Bucol

5858 /PROOF of Claim Form For Summary Execution Victims by Guiapal Unes by Baliwan Unos
5859 |PROOF of Claim Form For Summary Execution Victims by Apolinar C. Dingal, Jr. by
Apolinar E. Dingal, Sr.

5860 |PROOF of Claim Form For Summary Execution Victims by Eislalio B. Maribong by
Pascuala C. Maribong

5861 |PROOF of Claim Form For Summary Execution Victims by Alfonso Roma by Catalina
Roma Longcob

3862 PROOF of Claim Form For Summary Execution Victims by Dandon Caindeg, Sr. by
Susana C. Caindog

5863 (PROOF of Claim Form For Summary Execution Victims by Emiliano fT. Dyag by Rufina
T. Dyag

5864 /PROOF of Claim Form For Summary Execution Victims by Kamilan Kindao by Salindao

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3865 | PROOF of Claim Form Por Summary Execution Victims by Dionesio Jaganob by Ana Rose

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| Apr 27 | 5866 PROOF of Claim Form For Summary
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5870: PROOF of Claim Form For Summary
: Imbong by Nanogod A. Imbong
5871) PROOF of Claim Form For Summary
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5872 PROOF of Claim Form For Summa ry
Isedro L. Hernane, Jr.
_ 3873. PROOF of Claim Form For Summary
: L. Apigo
5874 PROOF of Claim Form For Summary
=. L. Hernane
| 3875. PROOF of Claim Form For Summary
: by Derogacion Tamparong
i 5876 PROOF of Claim Form For Summary
: : Kenengko Hoadji Sulaiman
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B. Gampong
5878 | PROOF of Claim Form Por Summary
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: by Arcadio B. Mallari, Jr.
_ 5880 | PROOF of Claim Form For Summary
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5881 PROOF of Claim Form For Summary
Guillermo
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: P. Cuales, Sr.
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/ Baliwan Parinding
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| | L. Uray, Sr.
5888 | PROOF of Claim Form For Summary
| | Tomas
| 5889 | PROOF of Claim Form For Summary
i Victora Obordo Repana
| 5890 | PROOF of Claim Form For Summary
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i Helen Suan Orcullo
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Udin Manabilang by Mangacltal

Mokamad Imbong and Aida

Edmundo Rivera Legislador by
Isedro C. Hernane, Sr. by
Cirilo L. Apigo by Creseciang
Elmer L. Hernane by Analyn
Marselo B. Tamparong, Jr.

Sansaluna Zacaria by

Tuig M. Gampong by Monib

Dekay Mamalangkas
Arcadio B, Mallari, Sr.

Alberto Parcero by Milagros
Alejandro Guillermo by Elias

Peter P. Cuales by Peter

Balintina Parinding by
Artemio L. Capundag by

Puntat Baliwan by Abdulkalim

Paharudin Ukas by Kedza M.

Bienvenido L. Uray by Romeo
Elito Gumen Tomas by Joel

Rodrigo Obordo Repana by

Alfredo L. Uray by Romeo L.
Roberto Pausal Oreullo by

Dotilo Pausal Orcullo by

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i Ramon F. Cabador

5894) PROOF of Claim Form For Summary Execution Victims by Teddy A. Cabador by Ramon
I F. Cabador

5895| PROOF of Claim Form For Summary Execution Victims by Jessie A, Andrade by Elsie
A. Andrade
| 5896, PROOF of Claim Form For Summary Execution Victims by Gil C. Manojo by Josefina
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5897, PROOF of Claim Form For Summary Execution Victims by Ginelyn S. Cabrillos by

Oscar S$. Cabrillos

/ 5898 PROOF of Claim Form For Summary Execution Victims by Amadeo Andaya by Purificacic
| M. Andaya
| 5899 PROOF of Claim Form For Summary Execution Victims by Domiano B. Paclud by Amato

i D. Paclud

5900| PROOF of Claim Form For Summary Execution Victims by Eduardo A. Montes by Lorenac
S. Montes

5901 PROOF of Claim Form For Summary Execution Victims by Samama Alilaya by Kamutan
Alilaya

PROOF of Claim Form For Summary Execution Victims by Ulam Landasan by Tinggalong -

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| 3903; PROOF of Claim Form For Summary Execution Victims by Delfin Dammay by Fermina
Dammay Moyco

5904; PROOF of Claim Form For Summary Execution Victims by Tonisa Edon and Baysa Edon
by Baikong Edon Giomla

5905; PROOF of Claim Form For Summary Execution Vietims by Kampowa Ullong and Manding
Ullong by Taha Ulong

5906; PROOF of Claim Form For Summary Execution Victims by Towan Digandalan by Kimbao

Digandalan

5907] PROOF of Claim Form For Summary Execution Victims by Abdul Bayan Ullong by Taha
Ullong

5908} PROOF of Claim Form For Summary Execution Victims by Atuan Sipon by Palaguyan
Sipon

5909} PROOF of Claim Form For Summary Execution Victims by Rey Mainar by Tessie Mainar
2910; PROOF of Claim Form For Summary Execution Victims by Kamid Kadeg by Dalgan
Mama luba

5911! PROOF of Claim Form For Summary Execution Victims by Abdila Kabilangan by Bobby
Kabilangan

5912; PROOF of Glaim Form For Summary Execution Victims by Guillermo C. Cuenca by
Iniega G. Cuenca

5913, PROOF of Claim Form For Summary Execution Victims by Towan Digandalan by Tikok
Digandalan

5914; PROOF of Claim Form For Summary Execution Victims by Amil Sangkat by Zubaida
Sangkat

5915} PROOF of Claim Form For Summary Execution Victims by Udsad Damlag by Ali Damlag
5916| PROOF of Claim Form For Summary Execution Victims by Ontong Karatuan by Guimad

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3917| PROOF of Claim Form For Summary Execution Victims by Lumamdas Guimaludin by

Alamansa Guimaludin
53918| PROOF of Claim Form For Summary Execution Victims by Ekid Bansilan, Omal Bansilan,

Kantua Bansilan by Guinandang L. Bansilan
5919/ PROOF of Claim Form For Summary Execution Victims
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5920 PROOF of Claim Form For Summary Execution Victims by Tito M. Namoco by Milagros
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5921) PROOF of Claim Form For Summary Execution Victims by Juan B. Escandor by Ireneo
B. Escandor . :
» 5922) PROOF of Claim Form For Summary Execution Victims by Rogelio A. Tulba by Lourdesita
: L. Tulba

| 5923 | PROOF of Claim Form For Summary Execution Victims by Elpedio Echano by Teodorico
: : Echano

5924 PROOF of Claim Form For Summary Execution Victims by Dominador (Jose) Carlos by

! Mauricia 8. Carlos

5925 PROOF of Claim Form For Summary Execution Victims by Romualdo Arambaia by Teresit

: A. Sabas
; 5926 PROOF of Claim Form For Summary Execution Victims by Melecio Patena by Herminia
Patena
/ 3927) PROOF of Claim Form For Summary Execution Victims by Batu Mama Mamalangkay by
: Bai Monera Vito
i | 3928 | PROOF of Claim Form For Summary Execution Victims by Zaldy P. Aradillos by Santos
: : Aradillos
/ 5929 | PROOF of Claim Form For Summary Execution Victims by Jose F. Itam by Emiliano
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| 5930 PROOF of Claim Form For Summary Execution Victims by Carlito Jubasan by Andres
| Jubasan
| 5931 | PROOF of Claim Form For Summary Execution Victims by ALfredo Banga by Azucena I.
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5932 | PROOF of Claim Form For Summary Execution Victims by Ceferina M, Lagutin by Mila
i L. Cinco
| 5933 | PROOF of Claim Form For Summary Execution Victims by Ernesto Pejida by Lorena
Pejeda
5934 PROOF of Claim Form For Summary Execution Victims by Bagongbayan Tantong by Edres
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5935 PROOF of Claim Form For Summary Execution Victims by Khalid Balono by Mantiapon
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5937 | PROOF of Ciaim Form For Summary Execution Victims by Haron x, Sampulna by Santiagb
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Hemelinda M. Tamparong
, 3939 | PROOF of Claim Form For Summary Execution Victims by Husain Labagani by Guiana
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| 5940 | PROOF of Claim Form For Summary Execution Victims by Kado Labagani by Guiana
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| 5941 | PROOF of Clain Form For Summary Execution Victims by Maximo Reposrosa, Ester
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| 5942 | PROOF of Claim Form For Summary Execution Victims by Agustin Vellacrusis Anino
| i by Mamerta V. Anino
| 2943 ! PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by
| Victoria T. Flores
| 3944 | PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by
| Felipe Bantog Trance by Victoria T. Flores
j 2945 | STATEMENT by Santos Balwagan
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CIVIL DOCKET CONTINUATION SHEET
CEFENDANT

PLAINTIFF
© IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION
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| pocket No. MDL 840

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Apr 28 (5946 | PROOF of Claim Form For Torture Victims by Bonifacio C. Catias
(5947 /PROOF of Claim Form For Torture Victims by Nonito ¢. Igdaline
15948 |PROOF of Claim Form For Torture Victims by Estelita B. Del Rosario
(5949 'PROOF of Claim Form For Torture Victims by Teresita B. Del Rosario
15950 |PROOF of Claim Form For Torture Victims by Alfredo B. Cabarriban
(5951 |PROOF of Claim Form For Torture Victims by Juanito BE. Bacaycay

PROCEEDINGS

(5952 |PROOF of Claim Form For Torture Victims by Roger Logasar

© 15953 | PROOF of Claim Form For Torture Victims by Buencamino Pomare jos
(5954 | PROOF of Claim Form For Torture Victims by Aproniano C. Sotomayor

15955 PROOF of Claim Form For Torture Victims by Reynaldo B. Del Rosario

(5956 PROOF of Claim Form For Torture Victims by Manuel B. Del Rosario

,5957 |PROOF of Claim Form For Torture Victims by Alex Sumaot :

(5958 |PROOF of Claim Form For Torture Victims by Solomon L. Banaha :

5959 |PROOF of Claim Form For Torture Victims by Martino L. Banaha, Sr.

'5960 |PROOF of Claim Form For Tisappearance Victims by Juanito Pielago by Renato Pielagd

:5961 PROOF of Claim Form For Summary Execution Victims by Topino Carias by Bonifacio

Carias, Sr.

[3962 | PROOF of Claim Form For Summary Execution Victims by Alberto Casiong by Alicia C.

| | Dumandan

(59963 (PROOF of Claim Form For Summary Execution Victims by Alexander L. Orcullo by Nenit

R. Orcullo

|5964 |STATEMENT by Demetrio Bulat-Ag

5965 jEntry of Appearance - on behalf of Neri Javier Colmenares and Dr. Aurora A. Parong
[Re: Intent to Appear at 4/29/99 Hearing]~ [cv 86-330, 86-390, 86-207]

5966 | APPLICATION to Place Exhibit Under Seal - on behalf of the Bankruptcy Estates of
Melvin M. Belli and Caeser M. Belli - [Relates to All Actions!

5967 (Certificate of Service ~ on behalf of the Bankruptcy Estates of Melvin M. Belli
and Caeser M. Belli - (Relates to All Actions]

15968 Declaration of Robert A. Swift Re Giving Notice of the Proposed Settlement To

Class Members; Exhibit A - on behalf of Class Plaintiffs - [Relates to Hilao
| and DeVera Actions]

5969 |Declaration of Rodrigo C, Domingo, Jr. Re Giving Class Notice of the Proposed
Settlement To Class Members - on behalf of Class Plaintiffs - [Relates to
Hilao and DeVera Actions]
3970 |Declaration of Robert A Swift Re: Authenticity of Documents Appended to Oppositior
of Class Counsel To Motions of Direct Action Counsel For Attorney's Fees And
Reimbursement Of Expenses - on behalf of Class Plaintiffs ~ [Cv 86-330, 86-34

gy

5971 [STATEMENT of Rosario Cordero Salvador-Palma

29 5972 |PROOF of Claim Form For Torture Victims by Romeo L. Bayle

5973 |PROOF of Claim Form For Torture Victims by Romulo Basco Montoya

5974 iPROOF of Claim Form For Torture Victims by Crispuio B. Galut

5975 |PROOF of Claim Form For Torture Victims by Romulo Maza Tuazon

5976 |PROOF of Claim Form For Torture Victims by Gerardo A. Naoe, Deceased by Dalisay A
Nace

5977 {PROOF of Claim Form For Torture Victims by Romeo $. Quibal

5978 |PROOF of Claim Form For Torture Victims by Renato Dela Cruz

5979 |PROOF of Claim Form For Torture Victims by Romeo L. Bayle

5980 |PROOF of Claim Form For Torture Victims by Martin J. Maneao, Jr.

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CIVIL, DOCKET CONTINUATION SHEET
PLAINTIFF | DEPENDANT

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IN RE: ESTATE OF FERDENAND E. MARCOS! HUMAN RIGHTS LITIGATION
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Danette creer

» Apr 29 5981 | PROOF of Claim Form For Torture Victims by Serapion G. Tprregosa
_ 3982 PROOF of Claim Form For Torture Victims by Alijandro 3. Cabangunay
5983 PROOF of Claim Form For Torture Victims by Cresencia Dela Cruz
5984 PROOF of Claim Form For Torture Victims by Petronilo Manabat
| 5985. PROOF of Claim Form For Torture Victims by Wilfredo B. Malano
_ 5986 PROOF of Claim Form For Torture Victims by Teresita A. Cruz
- 3987 PROOF of Claim Form For Torture Victims by Rodolfa oO. Castillo, Deceased by
Rizalina 0. Castillo <q
_ 5988 PROOF of Claim Form For Torture Victims by Adelaida A. Paguntalan
5989 PROOF of Claim Form For Torture Victims by Tripon A. Gultia
5990 | PROOF of Claim Form For Torture Victims by Sabadaquia Borja, Jrv., Deceased by
. Anita Matados Borja
59991. PROOF of Claim Form For Torture Victims by David Sabadaquia Borja, Deceased by
: Anita Matados Borja
/ 5992 PROOF of Claim Form For Torture Victims by Panfilo Rebeleza Ricablanca
5993 , PROOF of Claim Form For Torture Victims by Rogelio Cauilan, Deceased by Remedios

Cauilan
9994 , PROOF of Claim Form For Torture Victims by Rosemarie Cauilan, Deceased by Remediog
i Cauilan
5995 | PROOF of Claim Form For Torture Victims by Joanna K. Carino
5996 | PROOF of Claim Form For Torture Victims by Isa A. Ibrahim
| 5997 | PROOF of Claim Form For Torture Victims by Luis Cc. Balucan, Deceased by Baselisa

: J. Balucan
5998 | PROOF of Claim Form For Torture Victims by Demetria C. Castillo
| 5999 | PROOF of Claim Form For Torture Victims by Siez A. Ibrahim
6000 | PROOF of Claim Form For Torture Victims by "Donna" Donabele Roda Gonzales
| 6001 | PROOF of Claim Form For Torture Victims by Lira Aguilar~-General
' 6002 | PROOF of Claim Form For Torture Victims by Conrado E. Cordero
6003 | PROOF of Claim Form For Torture Victims by Virgilio De Leon Deifin
6004 | PROOF of Claim Form For Torture Victims by Roberto Ll Beltran
6005 | PROOF of Claim Form For Torture Victims by Violeta Sevendal-Hilao
_ 6006 | PROOF of Claim Form For Torture Victims by Alfredo $. Costales
» 6007 | PROOF of Claim Form For Torture Victims by Jaime L. Sevilla
6008 | PROOF of Claim Form For Torture Victims by Felimon D. Quinto, Sr.
| 6009 | PROOF of Claim Form For Torture Victims by Jesus C. Samonte
'6010 | PROOF of Claim Form For Torture Victims by Beltran N, Ruiz, Sr.
6011 | PROOF of Claim Form For Torture Victims by Bernardino N. Ruiz
/ 6012 | PROOF of Claim Form For Torture Victims by Andres C. Samonte
6013 PROOF of Claim Form For Torture Victims by Angelita G. Galut
16014 PROOF of Claim Form For Torture Victims by Esmail B. Sabdula, Deceaged by Rahir
i Sabdula
6015 PROOF of Claim Form For Torture Victims by Vinancia E. Catayas. Deceased by Felis
: E, Catayas f
| 6016 PROOF of Claim Form For Torture Victims by Edward R. Vargas
| 6017 | PROOF of Claim Form For Torture Victims by Eric F. Nacasabog
| 6018 | PROOF of Claim Form For Torture Victims by Nastura B. Lumondao
6019 | PROOF of Claim Form For Torture Victims by Andong Didi, Deceased by H. Monera
Didi
6020 | PROOF of Claim Form For Torture Victims by Awal Ardit
6021 | PROOF of Claim Form For Torture Victims by Alejandro N. Jabonete
6022 | PROOF of Claim Form For Torture Victims by Vito R. Coranes, Jr.

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CIVIL DOCKET CONTINUATION SHEET
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IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION i
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|
DATE NALS PROCEEDINGS
1999
Apr 29 | 6023! PROOF of Claim Form For Torture Victims by Salvador Cabigayan
_ 6024 PROOF of Claim Form For Torture Victims by Timotee Quinao
6025, PROOF of Claim Form For Torture Victims by Kudteg Ladtudan, Deceased by Nora
i i Ladtudan
| 6026; PROOF of Claim Form For Disappearance Victims by Ceriaco Gabriana by Lucresia G. |
/ i Gabi jan
6027, PROOF of Claim Form For Disappearance Victims by Engraciao Labong by Pacita L.
i Cabangunay
6028 PROOF of Claim Form For Disappearance Victims by Isabelo Bonus, Jr. by Norma
| Bonus
6029! PROOF of Claim Form For Disappearance Victims by Ramad Salilaguia by Kamlon
| : Salilaguia
6030 | PROOF of Claim Form For Disappearance Victims by Bondao Unotan by Lamada Samana |
6031; PROOF of Claim Form For Disappearance Victims by Mamaluba Samama by Lamada
Samana
6032, PROOF of Claim Form For Disappearance Victims by Rodel 0. Madera by Shirley F.
Madera
6033) PROOF of Claim Form For Disappearance Victims by Antonio G. Rivera by Alda Q.
| Rivera
6034 | PROOF of Claim Form For Disappearance Victims by Adelosa Salimula by Ibrahim
Salimula
6035) PROOF of Claim Form For Disappearance Victims by Isidro Gabigan by Lucrisia G.
Gabigan
6036) PROOF of Claim Form For Disappearance Victims by Tingao Salilaguia by Kamlon
Salilaguia
6037: PROOF of Claim Form For Disappearance Victims by Cirila Lampago Abratiguin
6038 | PROOF of Claim Form For Disappearance Victims by Porferia Labasano Y Gultia
6039; PROOF of Claim Form For Disappearance Victims by Conchita Arejola Y Abratiguin
6040, PROOF of Claim Form For Disappearance Victims by Natividad S. Pepito
6041 PROOF of Claim Form For Summary Execution Victims by Macmod Salik by Amelia Salik
6042) PROOF of Claim Form For Summary Execution Victims by Francisco Falsis by Paquito
D G. Falsis
6043) PROOF of Claim Form For Summary Execution Victims by Paglas Lagasan by Daupan
| Lagasan
6044) PROOF of Claim Form For Summary Execution Victims by Magsaysay Pasawilan by
| Datunan Pasawilan
6045; PROOF of Claim Form For Summary Execution Victims by Mutin Salilaguia by Xamlon
Salilaguia
6046; PROOF of Claim Form For Summary Execution Victims by Dansalan Totok by Inaolan
Totok
6047) PROOF of Claim Form For Summary Execution Victims by Rogelio V. Olitoquit by
Leonida P. Olitoquit
6048; PROOF of Claim Form For Summary Execution Victims by Tayong Dimatingkal by Mulba
Dimatingkal
6049; PROOF of Claim Form For Summary Execution Victims by Betig Enet by Dagugod Enet
6050] PROOF of Claim Form For Summary Execution Victims by Lasam Manampad by Kadiguia
Manampad
6051 | PROOF of Claim Form For Summary Execution Victims by Jose Abalajen by Silvestre
Abala jen
6052] PROOF of Claim Form For Summary Execution Victims by Corazon Santiago Mantes and

Dolores Lisay Mantes by Felipe Mantes

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CIVIL, DOCKET CONTINUATION SHEET
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. , DOCKET NO MDL 840 |
IN RE: ESTATE OF FERDINAND E. MARCOS) HUMAN RIGHTS LITIGATION
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1999
Apr 29 6053 PROOF of Claim Form For Summary Execution Victims py Usman Magapisa by Umabad
: Magapisa
6054 PROOF of Claim Form For Summary Execution Victims by Macario Miras by Winepredo
Miras .
6055) PROOF of Claim Form For Summary Execution Victims by Ernesto Miras by Winefredo
/ Miras
/ 6056 PROOF of Claim Form For Summary Execution Victims by Pastor Dacles by Marita
: : Dacles
| 6057 PROOF of Claim Form For Summary Execution Victims by Julita Miras by Winefredo
Miras

6058 PROOF of Claim Form For Summary Execution Victims by Menang Hadji Usman by Aisa
Hadji Usman
6059: PROOF of Claim Form For Summary Execution Victims by Kalumanga Agad, Amilal
Kalumanga and Esmail Amilol by Abdul Kalumanga
6060 , PROOF of Claim Form For Summary Execution Victims by Itineo D. David by Estela
BD. David
. 6061 | PROOF of Claim Form For Summary Execution Victims by William G. Pacarra by Pacita
: A. Pacarra
6062 PROOF of Claim Form For Summary Execution Victims by Ronemo Lead by Ninita Lead
_ 6063 PROOF of Claim Form For Summary Execution Victims by Sio Kamamang by Kodtang

: Guilay

| 6064 PROOF of Claim Form For Summary Execution Victims by Tulman Depak by Guilid
Melicano

6065 PROOF of Claim Form For Summary Execution Victims by Luis Galapon by Magdalena M.

Galapon
6066 | PROOF of Claim Form For Summary Execution Victims by Felimon S. Lagazon by Ale janfira

G. Lagazon

6067 PROOF of Claim Form For Summary Execution Victims by Aliman Naga by Bainora Naga
6068 | PROOF of Claim Form For Summary Execution Victims by Prodencio M. Bachicha by
Rita B. Bachicha

6069 PROOF of Claim Form For Summary Execution Victims by Lasam Guiamadil by Baisalam
Guiamadil

| 6070 PROOF of Claim Form For Summary Execution Victims by Cristito R. Pondivida by
Irene R. Pondivida

6071) PROOF of Claim Form For Summary Execution Victims by Edwin Michael H. Moloso by
i Rosario B. Molosoe

| 6072 PROOF of Claim Form For Summary Execution Victims by Mandagan Taosi by Datukan
Maguindalat

6073 | PROOF of Claim Form For Summary Execution Victims by Christofer P. Rubiato by
Rosila P. Rubiato

6074 | PROOF of Claim Form For Summary Execution Victims by Pepito B. Malong by Josie M.
Morales

6075 | PROOF of Claim Form For Summary Execution Victims by Paz L. Malong by Josie M.
Morales

6076 PROOF of Claim Form For Summary Execution Victims by Antonio Langomez Yosores

by Juanito L. Langonez

6077 PROOF of Claim Form For Summary Execution Victims by Raymundo "Manny" Julian

by Ruth §. Dela Cruz

6078 ; PROOF of Claim Form For Summary Execution Victims by Udag Ugkal by Tamano Ugkal
6079 | PROOF of Claim Form For Summary Execution Victims by Guialel Salimula by Ibrahim

Salimula

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CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF

IN RE: ESTATE OF FERDINAND £, MARCOS H

DEFENDANT i
, DOCKET No. MDL 840
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Apr 29 PROOF of Claim Form For
Salimula

| PROOF of Claim Form For

i Melong Saliliguia

| PROOF of Claim Form For
Turqueza

PROOF of Claim Form For
G. Falsis

PROGF of Claim Form For
Lumundac

PROOF of Claim Form For
Mogib, Abduladzis

PROOF of Claim Form For
€. Carias, Sr.

PROOF of Claim Form For
Froctosa Abalos

PROOF of Claim Form For
Mila Lagutin Cinco

PROOF of Claim Form For
Tomag

| PROOF of Claim Form For

Settlement Agreemen
and Reimbursement o
of Attorneys’ Fees
and Class Attorneys
Fees (ACLU): 5) Bu
and Executive Commi
Bankruptcy Estates
Fees From Class Set
Arguments heard.
Class Notice accomp
been accomplished.
Aurora Parong, Amar
noted. Defts note
final order. Class
COURT ORDERS that a
public at the time
(#2-6) should
THE CLASS."
are filed.

action. A Judgment

VARIOUS MOTIONS - 1} Plaintiff Class'

be specific as to the time and
Hearings will be set at the time

COURT ORDERS THE SETTLEMENT APPROVED.

(Ct Rptr: Terrence Chun)

Summary Execution Victims by Maugan Salimula by Ibrahim

Execution Victims

Summary by Magsaysay Salilaguia by

Summary Execution Victims by Moises M. Vicente by Medine

Execution Victims by Danilo Gardose by Paquito

Summary

Summary Execution Victims by Tapa Lumundao by Mastura
Summary Execution Victims by Katiguia Lumayon, Abdula

Mogib and Tamano Mogib by Salem Mogib
Summary Execution Victims by Joseph Gonzales by Bonifacia

Summary Execution Victims by Esperacion C. Abalos by
Victims by Vicente Gabin Lagutin by

Summary Execution

Summary Execution Victims by Arsulo S. Tomag by Flora S,

Summary Execution Victims by Antonio A. Ogdaw by Adelina

Cv 86-207, 86-330, 86-390]

Motion for Final Approval of the

2) Class Counsel's Joint Motion for Attorneys’ Fees
3) Petition by Belli & MClean For An Award
roviding Benefit and Service to the Class
pongco Plaintiffs' Motion for Attorneys'
ncio/Fabic/Socco Plaintiffs’ Motion for Attorneys' Fees
ttee Fees (Randall H. Scarlett); 6) Joinder of the

of Melvin M. Belli and Caeser M, Belli in Application for
tlement by Brown, Fabro & Searlett and Belli & MClean;

€3
f Expenses;
and Costs For P
3; 4) Sison/Pio

i

However, transfer of the $150 Million has not
1) Also testifying: Class Members: Neri Columnares,
yllis Hilao Enriquez and Alberto David, Jr. Objections
that approval of the settlement should be a full and
Counsel requesting 22.9% in fees.
ll atty time records and cost records should be made
settlement is approved. All Counsel's motions for fees
cost spent "AS TO THE BENEFIT oO
all documents and objections

lished.

Court wants to bring CLOSURE to this

will be issued as soon as can be,

REAL,

Lee

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Civil, DOCKET CONTINUATION SHEET
PLAINTIFF | OFF ENDANT

IN RE: ESTATE OF FERDINAND E.

MARCOS: HUMAN RIGHTS LITIGATION

| DOCKET NO. MDE 840

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PROCEEDINGS

Apr 29° 6093. JUDGMENT - [cy 86-207, 86-333, 86-390] REAL
[SEALED BY ORDER OF COURT] oo
> May 3 ‘TRANSCRIPT of Proceedings - Original ~ 4/5/99 (Los Angeles, California)
i [Ce Reptr: Leonore A. LeBlanc]
6094 PROOF of Claim Form For Torture Victims by Rodolfo Gc. Piring, Deceased by Rodel
D. Piring
6095 PROOF of Claim Form Fer Torture Victims by Rolando Mao jado
6096 PROOF of Claim Form For Torture Victims by Samson Cc. Calumba
6097 | PROOF of Claim Form For Torture Victims by Urbano Anoba
6098 PROOF of Claim Form For Torture Victims by Jose Espano
6099 ) PROOF of Claim Form For Torture Victims by Jorge Ma jado
6100 PROOF of Claim Form For Torture Victims by Artemio C. Carol, Deceased by Benita
: C. Carol
6101 PROOF of Claim Form For Torture Victims by Julius Pedrera
6102 | PROOF of Claim Form For Torture Victims by Juan Calutan
6103 | PROOF of Claim Form For Torture Victims by Juan Calutan
6104 | PROOF of Claim Form For Torture Victims by Alejandro Cabuello
6105 PROOF of Claim Form For Torture Victims by Rufino M. Bulac, Deceased by Erlinda
| Bulac
| 6106 | PROOF of Claim Form For Torture Victims by Gumbay Sinomagan, Deceased by Baguil
| i Sinomagan
| 6107 | PROOF of Claim Form For Torture Victims by William Anding
6108 PROOF of Claim Form For Torture Victime by Rodrigo Cabuello
| 6109 | PROOF of Claim Form For Torture Victims by Alfonso T. Inte
6110 | PROOF of Claim Form For Torture Victims by Dominador 8, fisaguirre, Sr., Deceased
| | by Corazon N. Isaguirre
6111 | PROOF of Claim Form For Torture Victims by Antonio C, Dionsay
6112 | PROOF of Claim Form For Torture Victims by Timoteo Ocasla
6113 | PROOF of Claim Form For Torture Victims by Fausto Oblino
6114 | PROOF of Claim Form For Torture Victims by Jovita Moreno Anonas
6115 | PROOF of Claim Form For Torture Victims by Nathaniel B. Arne jo
: 6116 | PROOF of Claim Form For Torture Victims by Virginia B. Arne jo
i 6117 | PROOF of Claim Form For Torture Victims by Eleuterio M. Tapang
6118 | PROOF of Claim Form For Torture Victims by Bonifacio 0. Toledo
6119 | PROOF of Claim Form For Torture Victims by Edgar L, Leyte
: 6120 ; PROOF of Claim Form For Torture Victims by Roberto Tabilon
; 6121 | PROOF of Claim Form For Torture Victims by Felix Magora, Deceased by Rogelio
Magora
6122 | PROOF of Claim Form For Torture Victims by Efren Mirabel
| 2123 | PROOF of Claim Form For Terture Victims by Antonio M. Pacis, Deceased by Crisanta
P. Maguddayao
| 6124 | | PROOF of Claim Form For Torture Victims by Sixto Macanas, Sr.
6125 | PROOF of Claim Form For Torture Victims by Ruben Dalma Pontigon
| 6126 | PROOF of Claim Form For Torture Victims by Pedro Pacorro
j 6127 PROOF of Claim Form For Torture Victims by Igancio Sulit, Sr., Deceased by
i Necitas Sulit
| 6128 | PROOF of Claim Form For Torture Victims by Necitas Silomenio de Asis
, 6129 PROOF of Claim Form For Torture Victims by Eleno G. Gudaldarada, Deceased by
Lea H. Guldarada
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(Rey, 1/753 PagelD.54
CIVIL, DOCKET CONTINUATION SHEET

PLAINTIFF | DEFENGANT i

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® IN RE: ESTATE OF FERDINAND E. MARCOS [HUMAN RIGHTS LITIGATION | DOCKET NO. HDL B40.
| PAGE 2160F PAGES

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DATE = NR PROCEEDINGS

1999
May 3 6130 | PROOF of Claim Form For Torture Victims by Necitas Silomenio de Asis
16131 PROOF of Claim Form For Torture Victims by Felipe E. Josue, Jr., Deceased by
| ' Oscar E. Josue
6132 5 PROOF of Claim Form For Torture Victims by Rolando R. Tac-An
(6133 | “PROOF of Claim Form For Torture Victims by Darwen Aboque, Deceased by Yolanda
Aboque
,6134 | PROOF of Claim Form For Torture Victims by Nestor C. Masinaring
(6135 | PROOF of Claim Form For Torture Victims by Manuel N. Osabal
; 6136 'PROOF of Claim Form For Torture Victims by Maximo A. Deleon
(6137 | PROOF of Claim Form For Torture Victims by Adilaida M. Tangpos
16138 | PROOF of Claim Form For Torture Victims by Salvador M. Jorque
16139 -PROOF of Claim Form For Torture Victims by Pepito T. Campos
(6140 | PROOF of Claim Form For Torture Victims by Jaime Hainto

6141 of Claim Form For Torture Victims by Carlos C. Gojar
16142 of Claim Form For Torture Victims by Angel Gojar
of Claim Form For Torture Victims by Bibiano A. Castillo, Deceased by

(6143
Crisologo R. Castillo
(6144 »PROOF of Claim Form For Torture Victims by Marco Gatmaitan Palo
j6145 PROOF of Claim Form For Torture Victims by Ignacio Sulit, Sr., Deceased by
e Necitas Sulit
6146 PROOF of Claim Form For Torture Victims by Elizabeth ¥. Borneo
j5447 | PROOF of Claim Form For Torture Victims by Maria Cristina Rosello-Enriquez
16148 | PROOF of Claim Form For Torture Victims by Michael A. Borneo, Deceased by
Elizabeth V. Borneo
6149 PROOF of Claim Ferm For Torture Victims by Rodolfo A, Barredo
'6150 | PROOF of Claim Form For Torture Victims by Rocelio Tac~An Tabay
6151 | PROOF of Claim Form For Torture Victims by Maria Brena Capaning~Tabay
16152 PROOF of Claim Form For Torture Victims by Aleja Geral Duldulao
16153 PROOF of Claim Form For Torture Victims by Santos Geral Sr.
'6154 PROOF of Claim Form For Torture Victims by Braulio Saaedra
(6155 | PROOF of Claim Form For Torture Victims by Ruben Burgos, Deceased by Elizabeth

! Burgos
B (6156 | PROOF of Claim Form For Torture Victims by Rogelio S. Ferer, Deceased by
Estanislao Acabanero
6157 | PROOF of Claim Form For Torture Victims by Eduardo M. Balderas
16158 | PROOF of Claim Form For Torture Victims by Paquito Araza
(6159 | PROOF of Claim Form For Torture Victims by Rolando Mabutol
6160 | PROOF of Claim Form For Torture Victims by Robert P. Azarcon
6161 | PROOF of Claim Form For Torture Victims by Nestor P. Narecisa
6162 PROOF of Claim Form For Torture Victims by Alberto G. Deloso
6163 | PROOF of Claim Form For Torture Victims by Lucia F. Penaranda
6164 | PROOF of Claim Form For Torture Victims by Arturo G. Guray
6165 | PROOF of Claim Form For Torture Victims by Rodolfo Malori
6166 | PROOF of Claim Form For Torture Victims by Alijandre H. Labion
6167 | PROOF of Claim Form For Torture Victims by Alfredo M. Labong
6168 | PROOF of Claim Form For Torture Victims by Zosimo Delmonte
6169 | PROOF of Claim Form For Torture Victims by Hermogenes Ocasala
6170 | PROOF of Claim Form For Torture Victims by Hilda B. Narciso
6171 | PROOF of Claim Form For Torture Victims by Jaime 0. Moslares
6172 | PROOF of Claim Form For Torture Victims by Guillermo Mabute, Sr., Deceased by
Rosario T. Mabute

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IN RE: ESTATE oF FERDINAND E. MARCOS! HUMAN RIGHTS LITIGATION
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May 3 (6173: PROOF of Claim Form For Torture Victims by Miguel A. Nicolas, Sr.
: 6174 PROOF of Claim Form For Torture Victims by Paquito Araza
'6175 > PROOF of Claim Form For Torture Victims by Wilfredo Kabingue Naga
6176 PROOF of Claim Form For Torture Victims by Virgilio C. Hefervez
6177 PROOF of Claim Form For Torture Victims by Danilo Cabigayan
i / 6178) PROOF of Claim Form For Torture Victims by Avelina B. Sambayon
| / 6179, PROOF of Claim Form For Torture Victims by Mario Flores Cayabyab
- 6180 PROOF of Claim Form For Torture Victims by Ronaldo C. Cantes q
6181 PROOF of Claim Form For Torture Victims by Armando T. Santos
. 6182 PROOF of Claim Form For Torture Victims by Manuel Mario D. Guzman
6183 PROOF of Claim Form For Torture Victims by Kenir Busig
6184 . PROOF of Claim Form For Torture Victims by Divina D. Nicdao
°6185 > PROOF of Claim Form For Torture Victims by Archie S. Baribar
6186 PROOF of Claim Form For Torture Victims by Cecilia Francisco-Lansang
° 6187 PROOF of Claim Form For Torture Victims by Mario Delica
6188 PROOF of Claim Form For Torture Victims by Agapito Ogabang
6189 PROOF of Claim Form For Torture Victims by Genaro Gemilga
.6190 , PROOF of Claim Form For Torture Victims by Maximo Villanueva, Deceased by SoledaH
Ordaneza
6191: PROOF of Claim Form For Torture Victims by Sales G. Alfornon
6192 PROOF of Claim Form For Torture Victims by Susana L. Entina
(6193 | PROOF of Claim Form For Torture Victims by Jose T. Tausa
PROOF of Claim Form For Torture Victims by Norlito Pita Infante
(6195 PROOF of Claim Form For Torture Victims by Antonio Lumagbas, Deceased by Crisanth
i i | Lumagbas
6196 PROOF of Ciaim Form For Torture Victims by Vicente Geray
PROOF of Claim Form For Torture Victims by Leon Evan
/ 6198 | PROOF of Claim Form For Torture Victims by Ester M. Aguilar
6199 PROOF of Claim Form For Torture Victims by Justino Regondola
6200 | PROOF of Claim Form For Forture Victims by Jose T. Tausa
6201 | PROOF of Claim Form For Torture Victims by Agapito Evan, Deceased by Kristine

j i E. Evan

_ 6202 , PROOF of Claim Form For Torture Victims oy Carlos Evan Eq
/6203 PROOF of Claim Form For Torture Victims by Eleas Evan, Deceased by Gaudencio

: Evan

6204! PROOF of Claim Form For Torture Victims by Carlos de luna
| i PROOF of Claim Form For Torture Victims by Nonito C. Zape
| 6206 PROOF of Claim Form For Torture Victims by Delfin Delica, Deceased by Zenaida Deflica
| PROOF of Claim Form For Torture Victims by Zenaida G. Delica

16208 PROOF of Claim Form For Torture Victims by Joseph O. Aparis

, 6209 | PROOF of Claim Form For Torture Victims by Prisco Dela Lobrio

| 6210 PROOF of Claim Form For Torture Victims by Adilaida Laganadan Pasco, Deceased

by Hilario L. Pasco

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6211 PROOF of Claim Form For Torture Victims by Zuis Portento
| 6212 | PROOF of Claim Form For Torture Victims by Puis Parba
/6213, PROOF of Claim Form For Torture Victims by Estelito Sisi
6214 | PROOF of Claim Form For Torture Victims by Laureta A. Catalan
(6215 | PROOF of Claim Form For Torture Victims by Melanio R. Punsalan
| 6216 PROOF of Claim Form For Torture Victims by Mobin A. Alabain, Deceased by

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Sarabin A. Alabain
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May 3 | 6217 PROOF of Claim Form For Torture Victims by Rafael D. Baskinas
5218; PROOF of Claim Form For Torture Victims by Valerio N. Farnol
| 6219) PROOF of Claim Form For Torture Victims by Jaime Ocena, Deceased by Analita G.
i | Ocena
| 6220) PROOF of Claim Form For Torture Victims by Pedro E. Co
| 6221! PROOF of Claim Form For Torture Victims by Linda A. Ferrer~Valmonte
| 6222! PROOF of Claim Form For Torture Victims by Eduardo Medano
6223) PROOF of Claim Form For Torture Victims by Babileto T. Oba
6224, PROOF of Claim Porm For Torture Victims by Mely Bacayo Magbanua
| 6225, PROOF of Claim Form For Torture Victims by Tomas B. Oba
' 6226 PROOF of Claim Form For Torture Victims by Estelite Alfaro
6227’ PROOF of Claim Form For Torture Victims by Jovita Moreno Anonas
6228, PROOF of Claim Form For Torture Victims by Florenda Coronel
6229; PROOF of Claim Form For Torture Victims by Rafael D. Baskinas
» 6230 PROOF of Claim Form For Torture Victims by Azela F. Campanan
6231, PROOF of Claim Form For Torture Victims by Jose C. Tegio
| 6232, PROOF of Claim Form For Torture Victims by Rufino Rivera
| 6233) PROOF of Claim Form For Torture Victims by Joel B. Magiunsod
6234; PROOF of Claim Form For Torture Victims by Juan Evan, Deceased by Noel Evan
' 6235) PROOF of Claim Form For Torture Victims by Eduardo Lazaga
6236! PROOF of Claim Form For Torture Victims by Pablo Buenaflor
| 237, PROOF of Claim Form For Torture Victims by Joel Senavon
| 6238) PROOF of Claim Form For Torture Victims by Melvin Mendez-Cayabyab
6239; PROOF of Claim Form For Torture Victims by Manuel §. Dagohoy
j 6240) PROOF of Claim Form For Torture Victims by Salvador E. Espineda
6241| PROOF of Claim Form For Torture Victims by Feliciano $. Del Rosario, Deceased by
| Felicito B. Del Rosario
I 6242| PROOF of Claim Form For Terture Victims by Felicito B. Del Rosario
| 6243 PROOF of Claim Form For Torture Victims by Fe F. Santos
6244) PROOF of Claim Form For Torture Victims by Hermogenes D. Inocente
| 6245) PROOF of Claim Form For Torture Victims by Arsenio R. Macacado, Deceased by
D i | Clarito R. Macacado
| 6246) PROOF of Claim Form For Torture Victims by Pedro Ocena, Deceased by Percival
Vinas
6247' PROOF of Claim Form For Torture Victims by Melchor ¥. Taganna
6248| PROOF of Claim Form For Torture Victims by Francisco Gravillo
6249/ PROOF of Claim Form For Torture Victims by Salvacion Cortez
6250, PROOF of Claim Form For Torture Victims by Gerardo Pindos, Deceased by Cecilia
P. Galangue
6251) PROOF of Claim Form For Torture Victims by Bara M. Dimacisil
6252] PROOF of Claim Form For Torture Victims by Edgar Cadagat
6253) PROOF of Claim Form For Torture Victims by Juanito Pindos
6254, PROOF of Claim Form For Torture Victims by Marcelo Macantan
6255| PROOF of Claim Form For Torture Victims by Rodolfo P. Valena
6256) PROOF of Claim Form For Torture Victims by Lourdes L. Victoriano
6257| PROOF of Claim Form For Torture Victims by Nelia Cid Campos
6258; PROOF of Claim Form For Torture Victims by Cloa Rosalie
6259] PROOF of Claim Form For Torture Victims by Caoter A. Udasan, Deceased by Aminola
5S. Udasan
6260| PROOF of Claim Form For Torture Victims by Alkawaid CG. Sarip, Deceased by Aminol
8. Udasan

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IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

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/May 3 6261) PROOF of Claim Form For Torture Victims by Andres Yose
6262 PROOF of Claim Form For Torture Victims by Francisco Daclag
6263 PROOF ef Claim Form For Torture Victims by Danilo Monje
6264 PROOF of Claim Form For Torture Victims by Alipio T. Juat, Deceased by Nicanoma
: T. Juat
6265 PROOF of Claim Form For Torture Victims by Joel P. Karagdag
° 6266 PROOF of Claim Form For torture Victims by Romulo P. Manuel
6267 PROOF of Claim Form For Torture Victims by Ramon Masedonto Haveria, Deceased by
: Teresa G. Haveria

6268 PROOF of Claim Form For Disappearance Victims by Pio Pomarco Bueno by Concepcion
=: A. Bueno
/ 6269 PROOF of Claim Form For Disappearance Victims by Racman Sultan by Sandato Sultan
6270 PROOF of Claim Form For Disappearance Victims by Jolito Gabijan by Severino

Gabi jan

/ 6271 PROOF of Claim Form For Disappearance Victims by Jesus B. Villarde
/ 6272 PROOF of Claim Form For Disappearance Victims by Rogelio 8. Acosta by Jesus B.
: Villarde
6273 PROOF of Claim Form For Disappearance Victims by Elesio Langob
| 6274 PROOF of Claim Form For Disappearance Victims by Geronimo Gutlay by Antonio
: Gut lay
6275 > PROOF of Claim Form For Disappearance Victims by Domingo Gutlay by Antonio Gut lay
6276 PROOF of Claim Form For Disappearance Victims by Antonio Echaque by Margarita A.
Echaque
| 6277 | PROOF of Claim Form For Disappearance Victims by Leoncio Sosing
6278 | PROOF of Claim Form For Disappearance Victims by Edusma Nimfa
6279 | PROOF of Claim Form For Disappearance Victims by Lupo Basa by Riza Busa
/ 6280 | PROOF of Claim Form For Disappearance Victims by Alijandra Sosing

6281 | PROOF of Claim Form For Disappearance Victims by Angeles Haramay Salvador
6282 | PROOF of Claim Form For Disappearance Victims by Romeo Sosing by Alejandra Sosing
6283 : PROOF of Claim Form For Disappearance Victims by Marcelo Mabilangan
6284 | PROOF of Claim Form For Disappearance Victims by Isedro Sosing
/ 6285 | PROOF of Claim Form For Disappearance Victims by Nelson D. Mailari
6286 PROOF of Claim Form For Disappearance Victims by Romeo A, Uy
6287 PROOF of Claim Form For Disappearance Victims by Raymundo Aroma, Jr. by Eufroncina
C. Aroma
6288 | PROOF of Claim Form For Disappearance Victims by Mamot Guiampaca by Ambai Hadji
: Mohammad
6289 | PROOF of Claim Form For Disappearance Victims by Danilo V. Deldoc by Consolacion
¥. Deldoc
| 6290 | PROOF of Claim Form For Disappearance Victims by Sally Guiampaca by Ambai Had ji
Mohammad
6291 | PROOF of Claim Form For Disappearance Victims by Baiputi Guiampaca by Ambai Hadji
Mohammad
6292 | PROOF of Claim Form For Disappearance Victims by Maitum Guiampaca by Ambai Hadji
| | Mohammad
6293 | PROOF of Claim Form For Disappearance Victims by Valeriano P. Llenado by Dolores
P. Llenado
6294 | PROOF of Claim Form For Disappearance Victims by Gregorio Odian by Beverly M.
Odian
6295 PROOF of Claim Form For Disappearance Victims by Antonio Echaque by Margarita
Echague
6296 PROOF of Claim Form For Disappearance Victims by Avelino Uda
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1999
May 3 6297! PROOF of Claim Form For Disappearance Victims by Gabriel Rebato by Nicasio Rebatc
6298 PROOF of Claim Form For Disappearance Victims by Jaime Cabatuan
6299: PROOF of Claim Form For Disappearance Victims by Nilo Obima by Alda Obima
6300) PROOF of Claim Form For Disappearance Victims by Mateo Oquing by Rosita Qquing
630L' PROOF of Claim Form For Disappearance Victims by Rodulfo Obline
6302) PROOF of Claim Form For Disappearance Victims by Oscar Abella by Mena Abella
6303! PROOF of Claim Form For Disappearance Victims by Aniceto T. Tibaxan by Nicanona
| T. Juat
6304! PROOF of Claim Form For Disappearance Victims by Nemesio Galangue Naraja by
Abraham E. Galangue
6305) PROOF of Claim Form For Disappearance Victims by Hector M. Petilla, Sr. by
Feuno M. Petella, Sr.
6306; PROOF of Claim Form For Disappearance Victims by Severino Rofenian by Rosario
Rofenian
6307| PROOF of Claim Form For Disappearance Victims by Perferio Gravador by Antonio
Gravador
6308, PROOF of Glaim Form For Disappearance Victims by Justino L. Pascua
6309| PROOF of Claim Form For Disappearance Victims by Romeo T. Tibayan by Nicanoma
T. Suat
6310) PROOF of Claim Form For Disappearance Victims by Marciano B, Bondoc, Sr. by
Jesus G. Bondoc
6311; PROOF of Claim Form For Disappearance Victims by Melanio Bajado by Milagrosa G.
Cabus
6312! PROOF of Claim Form For Disappearance Victims by Isidro G, Cabus by Milagrosa G,
Cabus
6313) PROOF of Claim Form For Summary Execution Victims by Artemio Sabandi ja by Yolita
S. Orquin
6314, PROOF of Claim Form For Summary Execution Victims by Alma Rabuya by Ruel Rabuya
6315) PROOF of Claim Form For Summary Execution Victims by Jessie Capasgardo
6316! PROOF of Claim Form For Summary Execution Victims by Valerio Isagami by Merlinda
Valenzuela
B 6317| PROOF of Claim Form For Summary Execution Victims by Fabellar Vectorio by Benito
Babacayao
6318) PROOF of Claim Form For Summary Execution Victims by Eglecerio Jabulin by Aurora
Barredo Jabulin
6319) PROOF of Claim Form For Summary Execution Victims by Akmad Satol by Noraliza
Satol Ali
6320! PROOF of Claim Form For Summary Execution Victims by Akmad Satol by Noraliza
Satoi Ali
6321| PROOF of Claim Form For Summary Execution Victims by Saidali Sapal by Bakal
Sapal
6322, PROOF of Claim Form For Summary Execution Victims by Patato Amil by Sambutuan
Amil
6323) PROOF of Claim Form For Summary Execution Victims by Naima Dalanda by Saida
Dalanda
6324; PROOF of Claim Form For Summary Execution Victims by Kawilan M. Abas by Omar Abas
6325| PROOF of Claim Form For Summary Execution Victims by Hadji Husain Dalanda by
Sandanto Sultan
6326) PROOF of Claim Form For Summary Execution Victims by Manuel Capales by Anastacia

Capales

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